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                        UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF MICHIGAN
                             SOUTHERN DIVISION


UNITED STATES OF AMERICA,

      Plaintiff,

v.                                                   Case No. 11-20551-40

ALFORNIA JOHNSON,


      Defendant.
                                            /

          OPINION AND ORDER DENYING DEFENDANT’S MOTION TO SEVER

      Before the court is Defendant’s motion to sever for purposes of trial.1 Having

reviewed Defendant’s motion, the court concludes a hearing is unnecessary. See E.D.

Mich. LR 7.1(f)(2). For the reasons stated below, the court will deny Defendant’s

motion.

      Defendant is charged with conspiracy to distribute and possess with intent to

distribute controlled substances (21 U.S.C. §§ 841(a)(1) and 846) and criminal forfeiture

(21 U.S.C. § 853; 18 U.S.C. §§ 924, 981, 982; and 28 U.S.C. § 2461). Defendant does

not assert that the charges against him were improperly joined under Federal Rule of

Criminal Procedure 8. Rather, he contends that the court should sever the charges

against him under Federal Rule of Criminal Procedure 14(a), which allows for severance

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         The court notes that the motion provides no indication that Defendant expended
any effort to attempt to resolve the issue with opposing counsel. A mere citation to
Local Rule 7.1(a) is provided, with no details. Local Rule 7.1(a) saves both the court
and the parties time by allowing agreed-upon issues to be disposed of quickly and
easily. A violation of this rule may result in a summary denial of the motion, as well as
the imposition of an appropriate sanction upon the responsible attorneys. E.D. Mich. L.
R. 11.1.
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when joinder of offenses or defendants for trial “appears to prejudice a defendant.”

Defendant argues:

        It is anticipated that the government will admit statements of some of the co-
        defendants that were not made in furtherance of the conspiracy and,
        therefore, would not be admissible against Defendant under FRE
        801(d)(2)(E). A joint trial with the other co-defendants would severely
        prejudice substantial rights of Defendant because the statements described
        above would not be admissible against Defendant if he were to be tried
        separately.

(Dkt. # 662, Pg. ID 2578.) Defendant provides absolutely no factual basis for the events

that he “anticipates.”

        A motion to sever is left to the discretion of the trial court. United States v.

Lopez, 309 F.3d 966, 971 (6th Cir. 2002). However, “[a]s a general rule, persons jointly

indicted should be tried together because ‘there is almost always common evidence

against the joined defendants that allows for the economy of a single trial.’” Id. (quoting

United States v. Phibbs, 999 F.2d 1053, 1067 (6th Cir. 1993)). The Sixth Circuit has

instructed that “[s]everance should be granted ‘only if there is a serious risk that a joint

trial would compromise a specific trial right of one of the defendants, or prevent the jury

from making a reliable judgment about guilt or innocence.’” Id. (quoting Zafiro v. United

States, 506 U.S. 534, 539 (1993)). Defendant has not shown that any such risk exists

here.

        Defendant speculates of his fear of an entirely predictable, and very common,

Bruton problem in which his co-defendant’s statements will implicate him in the crime,

and he will not be able to cross-examine his co-defendants because they can exercise

their constitutional right not to testify. See Bruton v United States, 391 U.S. 123 (1968).

However, in the court’s experience, this problem is easily—and commonly—remedied

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by the government and the defense agreeing to modification or redaction of the

potentially problematic statements. Moreover, Defendant’s speculation about the

potential impact of statements of current co-defendants is unspecified, and bereft of

detail. It is yet to be known who will or will not testify, who will or will not plead guilty,

and who will or will not be in the same trial grouping, definitively, with Defendant.

         Finally, “[t]he fact that a defendant may have a better chance at acquittal if his

trial were severed does not require the judge to grant his motion: the defendant must

show ‘substantial,’ ‘undue,’ or ‘compelling’ prejudice.” United States v. DeFranco, 30

F.3d 664, 669–70 (6th Cir.1994). Defendant speaks in generalities and has not shown

that there is any serious risk of significant prejudice which overcomes the economy of a

single trial. Accordingly,

         IT IS ORDERED that Defendant’s motion to sever [Dkt. # 662] is DENIED.


                                                           s/Robert H. Cleland
                                                          ROBERT H. CLELAND
                                                          UNITED STATES DISTRICT JUDGE
Dated: March 27, 2014

I hereby certify that a copy of the foregoing document was mailed to counsel of record
on this date, March 27, 2014, by electronic and/or ordinary mail.

                                                           s/Lisa Wagner
                                                          Case Manager and Deputy Clerk
                                                          (313) 234-5522




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